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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of New Mexico F ILED

UNITED STATES DISTRICT COURT

United States of America ) ALBUQUERQUE, NEW MEXICO
Ve )
) Case No. JUL 07 2014
) —1Y my 2328
MELVIN RUSSELL 1 MATTHEW J. DYKMAN
SSAN XXX-XX-0346
_ YEAROFBIRTH1965 0 ) CERN
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Onoraboutthedate(s)of  ———_— 05/20/2014 = s——__sin the county of SAN JUAN __ inthe
_ ______Districtof | _NEWMEXICO _ , the defendant(s) violated:
Code Section Offense Description
TITLE 18 USC SECTION 2241 AGGRAVATED SEXUAL ABUSE
TITLE 18 USC SECTION
2246(2)(A)
TITLE 18 USC SECTION 1153 CRIMES IN INDIAN COUNTRY

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT

(J Continued on the attached sheet.

 

 

Complainant 's signature s a
BRAD MICHAEL, SPECIAL AGENT, FBI_
Printed name and title

Sworn to before me and signed in my presence: .---~ ~

Date: «07/07/2014 ry ka = b hu! Pumas _ oe

Judge 's signature

City and state: FARMINGTON, NM _ _B. PAUL BRIONES, U.S. MAGISTRATE JUDGE _

Printed name and titie

 

 
 

 

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, being duly sworn, do hereby depose and state:

l.

I am a regularly appointed Special Agent (SA) of the Federal Bureau of
Investigation (FBI), currently assigned to the Farmington, New Mexico,
Resident Agency. I have been an SA for 23 years, and was a police officer

for eight years before joining the FBI. I primarily investigate violent crimes,
including rape, on the Navajo Indian Reservation.

. I was notified by Navajo Division of Criminal Investigation (NDCI)

Criminal Investigator (CI) Jerrick Curley that a 42 year old woman, referred
to hereinafter as Jane Doe, said she had been raped on the night of
05/19/2014 or the early morning hours of 05/20/2014 by Melvin Russell, at
Russell’s residence in Nenahnezad, New Mexico.

. Jane Doe went to the Sexual Assault Nurse Examiner’s (SANE) office in

Farmington, NM, for a sexual assault examination. Injuries consistent with
a sexual assault were noted, including bruising to her vagina, and bruises
and scrapes on her throat, arms, breasts, torso, and legs.

Jane Doe was interviewed and said on the evening of 05/19/2014 she went
with a female friend and the friend’s four year old daughter to Russell’s
residence in Nenahnezad. The adults drank some alcohol, and Russell
became sexually aggressive with Jane Doe’s friend, who told him to stop or
she would have her male friends beat him up. The friend and her daughter
then went to sleep on Russell’s couch.

Jane Doe said Russell then began to get sexually aggressive with her (Doe).
She resisted his advances, and Russell became violent. He grabbed her
around the neck and choked her, causing bruises. Russell pulled out a large
samurai type sword and threatened to chop her up and deposit her body parts
in various areas of the reservation. Russell then raped Jane Doe vaginally,
and continued to strike and choke her.

 

 
 

 

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6. Jane Doe said the sexual assaults continued into the early morning hours,

until her friend and the little girl woke up. Russell then allowed her to get
dressed and leave.

7. Jane Doe went to a friend’s house and told him what happened. She then
reported the assault to the police.

8. A samurai sword was removed from Russell’s residence, either by Jane Doe
or her friend. It was turned over to CI Curley as evidence.

9. Melvin Russell was interviewed on 05/29/2014 and said he did not recall
any sexual contact with Jane Doe that night, and denied raping her. He said
he might have owned a sword at one time, but had given it away. He didn’t
recall when or to whom he gave the sword.

10.Melvin Russell was re-interviewed on 07/01/2014. He identified a
photograph of the sword in evidence and admitted it was his. He said he had
in fact threatened Jane Doe with the sword so that he could do what he
wanted with her. Russell said he considered rape to be forcing someone to
have sex against their will. I asked Russell if he raped Jane Doe, and he

answered “yes”. He said he was sorry he had done it, and felt bad for Jane
Doe.

11.Both Melvin Russell and Jane Doe are enro|led members of the Navajo
Indian tribe.

12.The location of the assault is within the exterior boundaries of the Navajo
Indian reservation.

 
 

 

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Based on the above, I have probable cause to believe Melvin Russell, an
Indian person, committed the crime of Aggravated Sexual Abuse, in
violation of Title 18 USC Section 2241, against Jane Doe, by placing her in
fear of death or serious bodily injury and committing a sexual act upon her
person, in violation of Title 18 USC Section 2246(2)(A) through contact
between his penis and her vulva; and that this offense occurred in Indian
Country, in violation of Title 18 USC Section 1153. I request a warrant for

the arrest of Melvin Russell be issued.

Brad Michael, Special Agent, FBI

 

Sworn to before me on this date
07/07/2014, in Farmington, New Mexico

Ll

B. Paul Briones
United States Magistrate Judge

 
